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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Central States, Southeast and Southwest Areas Pension
Fund, et al.
                                                         Plaintiff,
v.                                                                       Case No.:
                                                                         1:18−cv−07383
                                                                         Honorable Elaine
                                                                         E. Bucklo
H. Richard Smith Revocable Trust U/A/D June 14,
2002, et al.
                                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, November 27, 2018:


        MINUTE entry before the Honorable Elaine E. Bucklo: Scheduling conference set
for 2/15/2019 at 09:30 AM. Rule 26(f) report re MIDP due 2/12/2019. The report must
comply with the Mandatory Initial Discovery Pilot program of the district court. The
report form can be found on Judge Bucklo's page at ilnd.uscourts.gov. Mailed notice (reg)




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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